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Sipos Law, PLLC
10421 South Jordan Gateway, Suite 600
South Jordan, UT 84095
Tel: 801-860-3444
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Email: victor@siposlaw.com

Attorney for relator Bart Andersen

                     IN THE UNITED STATES DISTRICT COURT FOR THE
                         DISTRICT OF UTAH, NORTHERN DIVISION


UNITED STATES OF AMERICA ex rel.                               Case No.: 1:11-cv-176
BART ANDERSON                                               Judge: Hon. Clark Waddoups

       Plaintiffs,                                    RELATOR BART ANDERSEN’S
                                                         MOTION TO ENFORCE
v.
                                                            SETTLEMENT
BIG-D CONSTRUCTION CORPORATION;
CREATIVE TIMES DAY SCHOOL, INC;
CACHE VALLEY ELECTRIC COMPANY;
ADVANCED SOLUTIONS GROUP, LLC;
and DOES 1-100,

       Defendants.
       This motion is to enforce an agreement reached between relator Bart Andersen

(“Relator”) and defendant Big-D Construction Corporation (“Defendant”) about the payment of

attorney fees. On January 20, 2018, Defendant made an offer by email. On January 22, 2018,

Relator accepted the offer. Thereafter, Relator performed on the terms of the agreement, giving

enormous benefit to Defendant. But Defendant has refused to perform unless Relator agrees to

additional material terms never mentioned in the offer or acceptance. Relator has tried in good

faith to work with Defendant to resolve the issue, but the parties are at impasse. Relator asks this

Court to enforce the parties’ agreement.


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                                      BACKGROUND FACTS
       1.       Relator filed this action in 2011. On October 10, 2017, the Court entered the

ORDER RE INTERVENTION (ECF Doc. 67) recognizing that the United States government had

intervened in some, but not all, claims alleged in the action.

       2.       Before and during January 2018, Relator and Defendant were involved in

negotiating two agreements that were both entered in late January:

                a.     A two-party agreement between Relator and Defendant related to attorney

       fees under 31 U.S.C. § 3730(d) (“Attorney Fee Agreement”).

                b.     A three-party agreement between the Relator, Defendant, and the United

       States government about resolving the underlying claims related to Defendant in this

       lawsuit (“DOJ Agreement”).

       3.       Before either agreement had been entered, Relator’s counsel informed

Defendant’s counsel that Relator would not enter the DOJ Agreement until a the parties had

entered an agreement to resolve attorney fees.

       4.       On January 20, 2018, Defendant’s counsel sent Relator’s counsel the following

email, a copy of which is attached as Exhibit 1 (“January 20 Email”):

                Rule 408

                Hi Victor: following up my email below, I was able to connect
                with BigD and wanted to loop back with you.

                BigD offers $65k on a take it or leave it basis, which would
                include Full satisfaction of Attorney's fees, dismissal with
                prejudice of the complaint, a mutual release, Including of Big D,
                and It’s related entitles and Individuals, etc.


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       5.       On January 22, 2018, Relator’s counsel responded by email as follows, a copy of

which is also at Exhibit 1 (“January 22 Email”):

                Mr. Andersen has authorized me to accept the terms in your email
                dated Jan 20, 2018 at 11 :50 AM, which as we understand them are
                in the form or the attached agreement (same as earlier, I just
                included payment amount and option for wire). Again, with the
                confidentiality, it can be included or not, Big-D's choice.
       6.       Relator’s counsel attached to the January 22 Email a document titled Big-D and

BA agreement.dox, a copy of which is attached as Exhibit 2 (“Proposed Paper Agreement”).

       7.       Only after sending the January 22 Email and the Proposed Paper Agreement, and

relying on the existence of the Attorney Fee Agreement, Relator agreed to enter the DOJ

Agreement. Through this, Relator acted to satisfy the term of the Attorney Fee Agreement that

called for “dismissal with prejudice of the complaint.”

       8.       On January 25, 2018, the United States government filed a NOTICE OF
SETTLEMENT, ECF Doc. 72, indicating that the United States, Relator, and Defendant had entered

into the DOJ Agreement.

       9.       The DOJ Agreement provided enormous value to Defendant because it resulted in

dismissal of claims against Defendant; not only those claims that the United States had

intervened in, but additional claims in which the government did not intervene that Relator had a

right to pursue before it agreed to the DOJ Agreement.

       10.      Defendant refuses to perform on the Attorney Fee Agreement. After the DOJ

Agreement was entered, Defendant stated it would not pay the $65,000 amount unless Relator

agreed to material new terms that were not part of the Attorney Fee Agreement reflected in the

January 20 and 22 Emails.

       11.      Counsel for Relator and Defendant have tried to resolve their differing positions

about whether a paper agreement is required at all, and if it is, whether Defendant can require

materially different terms than it offered in the January 20 Email.
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       12.     Among several solutions proposed by Relator is that the Attorney Fee Agreement

memorialized in the January 20 and 22 Emails are capable of enforcement and do not

contemplate the need for any further paper agreement. Defendant has rejected this position

altogether and claims that no agreement has yet been reached and Relator must now agree to

material new terms.

       13.     None of Defendant’s proposed terms for a new paper agreement modifies the

$65,000 payment amount in any way. The new terms are not monetary in nature.

                                              ARGUMENT

       A.      This Court has authority to enforce the parties’ settlement agreement.
       As explained by the Tenth Circuit,

               “A trial court has the power to summarily enforce a settlement
               agreement entered into by the litigants while litigation is pending
               before it.” United States v. Hardage, 982 F.2d 1491, 1496 (10th
               Cir.1993). “Issues involving the formation and construction of a
               purported settlement agreement are resolved by applying state
               contract law.” Shoels v. Klebold, 375 F.3d 1054, 1060 (10th
               Cir.2004). Under Utah law, courts will enforce settlement
               agreements “if the record establishes a binding agreement and the
               excuse for nonperformance is comparatively unsubstantial.” Zions
               First Nat'l Bank v. Barbara Jensen Interiors, Inc., 781 P.2d 478,
               479 (Utah Ct.App.1989) (quotation omitted).
Nature's Sunshine Prod. v. Sunrider Corp., 511 F. App'x 710, 714 (10th Cir. 2013). “It is quite

well established that a settlement agreement may be summarily enforced by motion in the court

of the original action.” U.S. ex rel. Air-O-Fasteners, Inc. v. Mike Barnett Const., Inc., No.

1:13CV050, 2014 WL 2640705, at *2 (D. Utah June 12, 2014) (quoting Tracy-Collins Bank &

Tr. Co. v. Travelstead, 592 P.2d 605, 607 (Utah 1979) (“A compromise or settlement of

litigation is always referable to the action or proceeding in the court where the compromise was

effected; it is through that court the carrying out of the agreement should thereafter be controlled.

Otherwise the compromise, instead of being an aid to litigation, would be only productive of

litigation as a separate and additional impetus.”)
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                “Settlements are favored in the law, and should be encouraged,
                because of the obvious benefits accruing not only to the parties,
                but also to the judicial system. An expeditious means of enforcing
                a settlement agreement is conducive to this policy of law in that it
                adds the presence of judicial finality to the agreement, insuring that
                the goals of the parties as expressed in the agreement can be
                speedily attained.”
Id., at 607 (emphasis added).

        B.      The January emails constitute a binding settlement agreement.
        “Issues involving the formation and construction of a purported settlement agreement are

resolved by applying state contract law.” Shoels v. Klebold, 375 F.3d 1054, 1060 (10th

Cir.2004); Nature's Sunshine Prod. v. Sunrider Corp., 511 F. App'x 710, 714 (10th Cir. 2013)

(same). To determine whether a binding settlement agreement exists, courts employ the basic

rules of contract formation. LD III, LLC v. BBRD, LC, 2009 UT App 301, at ¶1.

                “A binding contract exists where it can be shown that the parties
                had a meeting of the minds as to the integral features of the
                agreement and that the terms are sufficiently definite as to be
                capable of being enforced. Prince, Yeates & Geldzahler v. Young,
                2004 UT 26, ¶ 13, 94 P.3d 179.”
Id. at ¶ 14 (internal punctuation omitted).

        Relator and Defendant had a meeting of the minds with respect to the Attorney Fee

Agreement. Defendant’s counsel wrote and proposed a settlement offer on January 20 as follows:

                Rule 408

                Hi Victor: following up my email below, I was able to connect
                with BigD and wanted to loop back with you.
                BigD offers $65k on a take it or leave it basis, which would
                include Full satisfaction of Attorney's fees, dismissal with
                prejudice of the complaint, a mutual release, Including of Big D,
                and It’s related entitles and Individuals, etc.
See, Exhibit 1 at January 20 email. Defendant’s counsel selected the words and conditions

included in its offer.



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        The terms of Defendant’s January 20 Email “are sufficiently definite as to be capable of

enforcement.” LD III, 2009 UT App 301 at ¶14. The terms required: (1) Defendant to make a

payment of $65,000; (2) Relator to agree to dismissal with prejudice of the complaint; and (3)

the parties to enter a mutual release that included all of Big-D’s related entities and individuals.

Defendant’s terms did not require any further negotiation, did not require any additional writing,

and did not permit Defendant to refuse performance unless Relator later agreed to some material

new terms that were not even mentioned in the emails. 1
        On January 22, Relator accepted the terms in the January 20 email and has never

suggested otherwise. Relator included a Proposed Paper Agreement, but the acceptance was not

conditioned on whether Defendant considered the terms in it acceptable.

        Defendant has already received the benefit of the bargain in the Attorney Fee Agreement.

After Relator accepted the agreement, and in reliance thereon, Relator’s counsel contacted the

United States government and agreed to enter the DOJ Agreement, thereby abandoning Relator’s

right to litigate other claims in this lawsuit.

        Although the parties in this case exchanged more paper agreements that the parties could

sign, that does not invalidate the existence of the Attorney Fee Agreement reached through email

communications. But Defendant now claims there was no agreement and that it can refuse to pay

unless Relator signs an agreement with material new terms that Defendant now also wants to

include. Multiple courts have rejected Defendant’s tactic. In Patterson v. Knight, 2017 UT App

22, 391 P.3d 1075, cert. denied, 398 P.3d 51 (Utah 2017), the parties reached an agreement with

nine provisions, and the last two explicitly required that settlement was “[s]ubject to drafting

mutually acceptable settlement agreement” and that dismissal would only happen “[u]pon


1
  Out of respect for confidential settlement communications, and because no new agreement has
been reached after January 22 with respect to the Attorney Fee Agreement, Relator is not
including herein the various negotiations that happened after the January 22 acceptance.
                                                  -6-
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execution of final settlement documents.” Id. at ¶ 2. Later, the parties could not agree to the

language for those final documents, and one party claimed it had terminated the “proposed

agreement subject to an agreeable final agreement.” Id. at ¶ 3. The other party filed a motion to

enforce the settlement. The trial court ruled an enforceable agreement had been reached

notwithstanding the failure to negotiate a mutually acceptable final agreement. In affirming the

trial court’s ruling, the Utah Court of Appeals explained,

               “It is common for parties to later memorialize in a more formal
               document agreements created in mediation. This arrangement does
               not preclude the enforcement or finality of the agreement created
               in mediation so long as the terms are ‘sufficiently definite as to be
               capable of being enforced.’”
Patterson v. Knight, 2017 UT App 22, ¶ 12 (citing LD III, LLC v. BBRD, LC, 2009 UT App

301, ¶ 14, 221 P.3d 867). In this case, the offer in Defendant’s January 20 Email – and accepted

in Relator’s January 22 Email – did not suggest that any future paper would be required for an

agreement to be formed.

       It is proper for courts to enforce settlement terms exchanged only through email. See,

e.g., Nature's Sunshine Prod. v. Sunrider Corp., 511 F. App'x 710, 713-15 (10th Cir. 2013)

(affirming district court’s ruling that granted motion to enforce a settlement that had been

reached only through email exchange; rejecting argument that a signed paper agreement was

required); Siribuor v. UHS of Denver, Inc., 2012 WL 3590791, at *6 (D. Colo. Aug. 20, 2012)

(affirming district court’s ruling that granted motion to enforce settlement reached through

emails exchange; rejecting argument that email did not adequately describe material terms and it

was to be left for paper agreement); LD III, LLC v. BBRD, LC, 2009 UT App 301, ¶ 20, 221

P.3d 867, 873 (affirming trial court’s ruling that granted motion to enforce settlement reached

through emails).




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                                        CONCLUSION

       Defendant January 20 Email made an explicit offer. Relator’s January 22 email accepted

that offer without condition. Defendant received the benefit of the bargain when Plaintiff agreed

to the DOJ Agreement, resulting in a dismissal of all claims against Defendant. But ever since

Defendant obtained its benefit, it has refused to perform unless Relator agrees to material new

terms. Multiple courts have rejected Defendant’s tactic and it should be rejected here. Relator

asks this Court to enforce the Attorney Fee Agreement.

       DATED: April 6, 2018                  SIPOS LAW, PLLC


                                             /s/ Victor Sipos
                                             By Victor Sipos
                                             Attorney for Relator Bart Andersen




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                                 CERTIFICATE OF SERVICE

       On the date indicated below, I filed this document using the court’s CM/ECF system
which will electronically serve the document to the individuals who are on the list to receive e-
mail notices for this case. In addition, soon after receiving a stamped filed copy of this document
through the ECF system, I will serve a copy of that document to the following individuals – each
of whom are attorneys representing defendant Big-D Construction Corp. who have
communicated with me about the case -- by sending this document and the referenced exhibits as
PDF attachments in emails directed to the following:

Melissa Beutler, melissa.beutler@big-d.com
Gregory E. Goldberg, GGoldberg@hollandhart.com
Charles Lucy, CLucy@hollandhart.com


       DATED: April 6, 2018                  SIPOS LAW, PLLC


                                             /s/ Victor Sipos
                                             By Victor Sipos




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                 EXHIBIT 1
3130/2018                 Case 1:11-cv-00176-CW
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                                                                                    Andersen v. Big-D



 SIPOSLAW                                                                                                                               VIctor Sipos <vlctor@lllposlaw.com>



 Re: USA ex rei. Andersen v. Blg-D
 VIctor Sipos <vlctor@slposlaw.com>                                                                                                               Mon, Jan 22, 2018 at 1:18PM
 To: "Gregory E. Goldberg" <GGoldberg@hollandharlcom>
 Cc: Charles Lucy <CLucy@hollandhart.com>

   Gregory,

   The draft agreement with the government at section 12 already contemplates a separate agreement related to fees, and the government wants us to conclude that
   today. I've left you a message but haven't heard back from you. We are prepared to move forward.

   Mr. Andersen has authorized me to accept the terms in your email dated Jan 20, 2018 at 11 :50 AM, which as we understand them are in the form or the attached
   agreement (same as earlier, I just included payment amount and option for wire). Again, with the confidentiality, it can be included or not, Big-D's choice.

   Victor Sipos
   Sipos Law, PLLC
   10421 South Jordan Gateway, Suite 600
   South Jordan, UT 84095
   Tel: 801.860.3444
   FliiX: 601.665.1266


   This email and any files transmitted with it are confidential and intended solely for the use of the person(s) to whom they are addressed. If you have received this
   email in error, or if you believe it has been sent to you in error, please notify the sender immediately and delete this email from your system. If you are not the named
   addressee or intended recipient, you should not disseminate, distribute or copy this a-mail, or taka any action in reliance on the contents thereof.

   On Mon, Jan 22,2018 at11 :13AM, Victor Sipos <victor@siposlaw.com> wrote:
    Gregory,

     I'm guessing these terms would not be written out in the agreement signed by the USA and Idaho relators, so we should probably have a separate document.
     Please review the attached. I tried to make it short and to the point borrowing terms from the document being negotiated with the government

     Confidentiality is not particularly important to Mr. Andersen, but I'm guessing it might be for Big-D, so I included a term for that at paragraph 8. If Big-D does not
     want it, it can be left out

     Victor Sipos
     Sipos Law, PLLC
     10421 South Jordan Gateway, Suite 600
     South Jordan, UT 84095
     Tal: 801.860.3444
     FliiX: 801.665.1266


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     named addressee or intended recipient, you should not disseminate, distribute or copy this a-mail, or taka any action in reliance on the contents thereof.

     On Sat, Jan 20, 2018 at 11:50 AM, Gregory E. Goldberg <GGoldberg@hollandhart.com> wrote:
       Rule408

       Hi Victor: following up my email below, I was able to connect with BigD and wanted to loop back with you.

       BigD offers $65k on a taka it or leave it basis, which would include Full satisfaction   or Attorney's fees. dismissal with prejudice of the complaint. a mutual
       release, Including of Big D, and lfs related entitles and Individuals, etc.

       Thank you.

       Greg E. Goldberg
       Holland & Hart LLP
       303.295.8099 (o)
       303.668.7524 (c)

       On Jan 19, 2018, a16:03 PM, Gregory E. Goldberg <GGoldberg@hollandharlcom> wrote:


              Victor: apologies for the delay. Let's touch base early next week.



              Thanks much.



              GG


              From: Victor Sipos [mailto:victor@siposlaw.com]
              Sent: Friday, January 19, 2018 9:40AM

https://mail.google.com/mail/u/Onui=2&ik=af8bd3dd08&jsver=Z-grDj2gpow.en.&view=pt&msg= 1611 f857631 c52e6&as_query=from%3A(GGoldberg%40hollandhart.cc
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                                                                         Filed       Andersen v. Big-D
                                                                                 04/06/18        Page 12 of 15
              To: Gregory E. Goldberg
              Subject: USA ex rei. Andersen v. Big-D


              Gregory,



              Good speaking with you yesterday. I plan to respond to the government this afternoon and my discussion with them depends on Big-D's response
              to our discussion. Can you let me know if I can expect a response today?


              Thank you,



              Victor Sipos
              Sipos Law, PLLC
              10421 South Jordan Gateway, Suite 600
              South Jordan, UT 84095
              Tel: 801.860.3444
              Fax: 801.665.1266


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              action in reliance on the contents thereof.




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https://mail.google.com/mail/u/Onui=2&ik=ef8bd3dd08&jsver=Z-grDj2gpow.en.&view=pt&msg= 1611 f857631 c52e6&as_query=from%3A(GGoldberg%40hollandhart.cc
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                 SETTLEMENT AGREEMENT RE RELATORS FEES

       This Settlement Agreement (“Agreement”) is entered into among the Big-D
Construction Corp., Big-D Corporation, Big-D Capital Corp., Big-D Construction
Southwest LLC, including any of the predecessors, successors, affiliated entities,
attorneys, agents, and assigns of the fore named entities (collectively, “Big-D Entities”)
and Bart Andersen, including any of his heirs, successors, attorneys, agents, and assigns
(“Relator Andersen”), relator in the lawsuit United States ex rel. Bart Andersen v. Big-D
Construction Corp., et al., U.S. District Court for Utah, Case No. 1:11-cv-00176 (“Utah
Lawsuit”). Collectively, the parties are referred to as the “Parties.”

                                         RECITALS

        A.      The parties hereto, along with the United States government and relators
Rafter-H Construction, LLC and Neal Hikida (“Idaho Relators”), are negotiating a
proposed settlement agreement related to dismissal of the Utah Lawsuit and United States
ex rel. Rafter-H Construction, LLC and Neal Hikida v. Big-D Construction Corp., et al.,
U.S. District Court for Idaho, Case No. 4:16-cv-00401 (“Idaho Lawsuit”).

        B.      Under 31 U.S.C. § 3730(d), Relator Andersen claims entitlement to
attorneys’ fees and costs related to the Utah Lawsuit. This agreement is to establish the
full and final payment of attorney fees payable to Relator Andersen from the Big-D
Entities related to the Utah Lawsuit. This agreement shall not impact the amount of any
relator fees that Relator Andersen might receive from payments made to the United
States government related to the Utah Lawsuit.

      B.      This agreement is separate from any agreement that might be reached
between the United States, Big-D Entities, Relator Andersen, and the Idaho Relators.
Nothing in such other agreement shall be deemed to replace the terms of this agreement.
       To avoid the delay, uncertainty, inconvenience, and expense of litigation of the
above claims, and in consideration of the mutual promises and obligations of this
Agreement, the Parties agree and covenant as follows:

                               TERMS AND CONDITIONS

        1.       Payment. The Big-D Entities shall pay sixty five thousand dollars
($65,000) (“Fee Amount”) by wire transfer or check made payable to “Sipos Law PLLC
Lawyer’s Trust Account” (Tax ID XX-XXXXXXX) within 10 business days after a dismissal
of claims is filed in the Utah Lawsuit. This shall constitute full satisfaction of the attorney
fees payable to Relator Andersen. This payment shall not impact any relator fees that
Relator Andersen might receive from the United States government related to any
payment made from the Big-D Entities to the government related to settlement of the
Utah Lawsuit and Idaho Lawsuit.

         2.      Mutual Release. Relator Andersen fully and finally releases the Big-D
Entities, and the Big-D Entities fully and finally release Relator Andersen, from any and
all manner of actions, causes of action in law or in equity, suits, debts, liens, contracts,
liabilities, claims, demands, damages, losses, fees, costs, or expenses, set offs, or claims
for recoupment, of any nature whatsoever, known or unknown, fixed or contingent, that
each releasing party has ever asserted, could have asserted, or may assert in the future
against each released party, including but not limited to any claim that Relator Andersen
has or may have on behalf of the United States for the Covered Conduct under the False
Claims Act, 31 U.S.C. §§ 3729-3733.
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        3.    Dismissal. Relator Andersen will consent to the proposed settlement
agreement involving the United States government that would have the Big-D Entities
pay $1,500,000 in exchange for dismissal of the Utah Lawsuit and the Idaho Lawsuit.
Relator Andersen will take no action to hinder or limit dismissal of the Utah Lawsuit or
the Idaho Lawsuit against the Big-D Entities as would be provided for in the settlement
agreement involving the United States government.

        4.      This Agreement is intended to be for the benefit of the Parties only.

        5.     With the exception of any agreement that might be reached involving the
Parties and the United States Government related to the Utah Lawsuit and Idaho Lawsuit,
this Agreement constitutes the complete agreement between the Parties. This Agreement
may not be amended except by written consent of the Parties.

        6.     The undersigned counsel represent and warrant that they are fully
authorized to execute this Agreement on behalf of the persons and entities as indicated.
This Agreement may be executed in counterparts, each of which constitutes an original
and all of which constitute one and the same Agreement. This Agreement shall be governed
by the laws of the State of Utah. If any portion of this Agreement is held invalid, the remaining
portions are to remain in effect. Each party has been given the opportunity to comment on or
modify the Agreement, and this Agreement shall not be construed against the party drafting it.

        7.      This Agreement is binding on the Big-D Entities’ successors, transferees,
heirs, and assigns. This Agreement is binding on Relators’ successors, transferees, heirs,
and assigns.

       8.     Confidentiality. The Parties agree to keep this provision confidential
except from their attorneys, accountants, or pursuant to court order or other formal legal
process.

        9.     This Agreement is effective on the date of signature of the last signatory to
the Agreement (“Effective Date of this Agreement”). Facsimiles of signatures shall
constitute acceptable, binding signatures for purposes of this Agreement.



DATED: January ___, 2018 BY: _____________________________
                             Name:
                             Counsel for the Big-D Entities




DATED: January ___, 2018 BY: _____________________________
                             Victor Sipos, Sipos Law PLLC
                             Counsel for Relator Bart Andersen




                                                 2
